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                 UNITED STATES DISTRICT COURT FOR
                   THE DISTRICT OF NEW HAMPSHIRE
__________________________________________
                                          )
Laurie Ortolano,                          )
                        Plaintiff         )
                                          )
v.                                        ) Civil Action No. 22-cv-00326-LM
                                          )
                                          )
The City of Nashua, et al.,               )
                        Defendants        )
__________________________________________)

         PLAINTIFF’S MEMORANDUM OF LAW OBJECTING TO
          MOTION FOR JUDGMENT ON THE PLEADINGS OF
        DEFENDANTS STEVEN BOLTON AND CELIA K. LEONARD


   I.     PROCEDURAL POSTURE.

   This is an action by the plaintiff, Laurie Ortolano (“Ortolano”), that articulates

ten causes of action: 1. Violations of 42 U.S.C. § 1983 for suppressing her free

speech rights and retaliation against her for her exercise of speech and expression

protected under the First Amendment to the United States Constitution; 2.

Violations of 42 U.S.C. § 1983 for suppressing her right to petition government and

retaliation against her for attempting to do so, which rights are protected under the

First Amendment to the United States Constitution; 3. Violations of 42 U.S.C. §

1983 for suppressing her right to substantive due process, which rights are

protected under the Fourteenth Amendment to the United States Constitution; 4.

Violations of 42 U.S.C. § 1983 for suppressing her right to procedural due process,

which rights is protected under the Fourteenth Amendment to the United States

Constitution; 5. Violations of her right to access governmental proceedings and

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records under Part 1, Article 8 of the New Hampshire Constitution; 6. Civil

Conspiracy under the New Hampshire common law; 7. Violations of NH RSA 91-

A:3, II(c), which prohibits public officials from conducting public municipal sessions

in which a person’s reputation is adversely affected; 8. Defamation under the New

Hampshire common law; 9. Abuse of process under the New Hampshire common

law; and 10. Intentional infliction of emotional distress under the New Hampshire

common law.

   Defendants Inception Technologies, Inc. and Raymond Feoli filed a Motion to

Dismiss the causes of action against them, which the plaintiff has opposed. Former

Police Chief Michael Carignan (“Carignan”) filed a Motion for Judgment on the

Pleadings, which the plaintiff has opposed. Mayor Donchess (“Donchess”) and CFO

John Griffin (“Griffin”) filed a second Motion for Judgment on the Pleadings. And

now, Attorneys Steven Bolton (“Bolton”) and Celia K. Leonard (“Leonard”) of the

Nashua Legal Department have filed a third Motion for Judgment on the Pleadings.

At the time of Ortolano’s opposition to the Bolton/Leonard motion, none of these

dispositive motions have been argued or decided.

   II.      THE RELEVANT FACTS.

   Ortolano will raise and cite the specific allegations of her Complaint as each

becomes relevant below to the arguments raised by defendants Bolton and Leonard.

   III.     ARGUMENT.

          A. Counts One and Two: Ortolano’s First Amendment Claims




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          1. Bolton’s and Leonard’s Incorporation of Section I of Carignan’s
             Memorandum of Law and Section II of Donchess’s and Griffin’s
             Memorandum of Law.

      In seeking dismissal of Counts One (First Amendment retaliation) and Two

(First Amendment denial of right to petition government), Bolton and Leornard

start by “incorporate[ing] and adopt[ing] Section I” of Carignan’s Memorandum of

Law (“Carignan Memorandum”) and Section II of Donchess’s and Griffin’s

Memorandum of Law. Defendants Bolton and Leonard’s Memorandum of Law in

Support of Motion for Judgment on the Pleadings (hereafter, “Bolton/Leonard

Memorandum”), at 11-12.

      But Section I of the Carignan Memorandum provides no support for Bolton’s

and Leonard’s Motion for Judgment on the Pleadings. Less than a page in total,

Section I of the Carignan Memorandum begins by reciting the legal elements of a

First Amendment retaliation claim,1 and then quickly concludes by asserting that,

“[a]s set forth above,” Ortolano’s Complaint did not state sufficient facts to sustain a

First Amendment claim against Carignan. Carignan Memorandum, at 7-8. The

argument in Section I of the Carignan Memorandum is limited to the question of

Carignan’s liability vis-à-vis the specific allegations about him in the Complaint;

indeed, Section I mentions neither Bolton nor Leonard. Carignan Memorandum, at

7-8. Moreover, although the Statement of Facts Section of the Carignan

Memorandum mentions Leonard and Bolton briefly in regard to Ortolano’s claim

that they were attempting to have her arrested, it does so to argue that the


1The Carignan Memorandum neither cites any law pertaining to Count Two, the right to
petition government cause of action, nor addresses facts relevant to that count.
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Complaint did not allege that Carignan was involved in those efforts. Carignan

Memorandum, at 4-6. Bolton’s and Leonard’s adoption of Section I of the Carignan

Memorandum is thus curious considering it provides not a shred of support for a

dismissal of Counts One and Two against them.

      Nor can Bolton and Leonard find support for dismissal of the First

Amendment claims against them in Section II of the Donchess/Griffin

Memorandum. Subsection a., which argues that Donchess’s and Griffin’s conduct in

public meetings consisted merely of enforcement of ordinances regulating the

orderly conduct of official City meetings, thus constituting reasonable time, place, or

manner restrictions, clearly is inapplicable to Bolton and Leonard, who are not

alleged to have played any role in running public meetings. Donchess/Griffin

Memorandum, at 5-9. Subsection b. of the Donchess/Griffin Memorandum argues

that, to the extent Ortolano claims she was denied the ability to comment publicly

during City meetings, her speech was not chilled because she continued to comment

publicly through June 20, 2022. Donchess/Griffin Memorandum, at 9-11. Once

again, this subsection has nothing to do with Ortolano’s specific allegations about

Bolton and Leonard. Subsection c. argues that six instances of speech by Donchess

or Griffin were protected by their own free speech rights and, again, have nothing to

do with any of the allegations against Bolton and Leonard. Donchess/Griffin

Memorandum, at 11-13. And finally, Subsection d. argues that Donchess and Griffin

had nothing to do with Ortolano’s arrest, or with other attempts to have her

arrested. Donchess/Griffin Memorandum, at 13-15. Ortolano does allege that



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Bolton’s and Leornard’s conduct caused her arrest and additional efforts to have her

arrested. Complaint, ¶¶ 105-112; 114; 130-137, so the Donchess-Griffin efforts to

disassociate themselves from the arrest and attempted arrests certainly provide no

support for their request for dismissal from the action.

          2. Bolton’s and Leonard’s Assertion of the Litigation Privilege.

      Bolton and Leonard are correct that the State of New Hampshire does

recognize an absolute litigation privilege, but they have attempted to portray its

reach to be far broader than the law provides. New Hampshire recognizes that

“statements made in the course of judicial proceedings are absolutely privileged

from liability in civil actions.” Reensberna v. Currier, 873 F. 3d 359, (1st Cir.

2017)(quoting Pickering v. Frink, 123 N.H. 326, 328-29 (1983)(citing McGranahan v.

Dahar, 119 N.H. 758, 763 (1979)). This absolute privilege “is tantamount to an

immunity. It is not conditioned on the actor’s good faith.” McGranahan, 119 N.H. at

762. In Provencher v. Buzzell-Plourde Assocs., 142 N.H. 848, (1998), the New

Hampshire Supreme Court extended this witness immunity beyond the actual

testimony given at judicial proceedings in some circumstances: “The privilege or

immunity is not limited to what a person may say under oath while on the witness

stand. It extends to statements or communications in connection with a judicial

proceeding. . . .” Id. (quoting Bruce v. Byrne-Stevens & Assocs. Eng’rs, 113 Wash. 2d

123, 776 P.2d 666, 672-73 (1989)). However, the Court found it necessary to limit

the reach of the immunity to statements that have “some relation to the

proceeding.” Id. at 854 (quoting RESTATEMENT (SECOND) OF TORTS, § 588 (1977)).



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Moreover, prelitigation/prehearing statements must have “some relation to a

proceeding that is actually contemplated in good faith and under serious

consideration by the witness or a possible party to the proceeding” so that “[t]he

bare possibility that the proceeding might be instituted is not to be used as a cloak

to provide immunity . . . . when the possibility is not seriously considered.” Id. at

855 (quoting RESTATEMENT (SECOND) OF TORTS § 588 comment. e (1977)) (emphasis

added in Provencher).

      Bolton and Leonard have suggested a blanket litigation immunity that does

not consider whether their statements was relevant to any particular litigation. In

footnote 4 on page 12 of their Memorandum they list five “right to know” actions in

Hillsborough Superior Court and two tax abatement proceedings Ortolano filed

between August 27, 2019 and August 15, 2022, but make no attempt to demonstrate

what statements they believe each litigation immunizes. And, without a hint of

which of the listed litigations to which each allegedly applies, Bolton and Leonard

then list eight statements or actions they claim “were made in the course of judicial

proceeds and are pertinent and relative to ongoing litigation and future litigation.”

In the left column of the table below is each statement from which Bolton and

Leonard claim to be immunized, followed in the right column by an explanation why

such is not the case.

 1) Ms. Leonard allegedly refused to           Paragraph 52 of Ortolano’s Complaint.
 allow Plaintiff to speak to Nashua            None of the right to know actions or tax
 commercial assessor, Doug Dame;               abatement cases has anything to do
                                               with Ortolano’s ability to speak with
                                               Doug Dame.



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2) Ms. Leonard allegedly created a               Paragraph 53 of Ortolano’s Complaint.
policy that prevented Plaintiff from             More specifically, this paragraph
obtaining information in the assessing           alleged that Leonard and Kleiner
department;                                      implemented a policy preventing
                                                 Ortolano from orally obtaining any oral
                                                 assessing information during business
                                                 hours from any of the nine employees of
                                                 the Assessing Department, including
                                                 the four assessors. None of the
                                                 litigations or tax abatement
                                                 proceedings had anything to do with
                                                 this policy.
3) The legal department allegedly                While the Legal department’s frequent
delayed and inappropriately denied               and lengthy delays in dealing with
production of documents responsive to            Ortolano’s right to know requests
91-A requests;                                   caused her to bring the right to know
                                                 actions, “delay[ ]” and den[ial] is not
                                                 within the purview of the litigation
                                                 immunity Bolton and Leonard are
                                                 asserting. See Argument supra.
4) Ms. Leonard allegedly “berated”               Paragraph 110 of Ortolano’s Complaint.
Plaintiff and had the Plaintiff escorted         Leonard berated Ortolano as she sat on
out of the legal office;                         the floor in the Legal Department
                                                 before the Nashua PD arrived. This was
                                                 not relevant to any of the right to know
                                                 actions or real estate tax abatement
                                                 proceedings.
5) Mr. Bolton allegedly “sat mute . . . as       Paragraph 122 of Ortolano’s Complaint.
Kleiner defamed [Plaintiff] and                  This occurred in a public meeting at
simultaneously violated the quoted               City Hall and is not relevant to any of
RTK law”;                                        the right to know actions or real estate
                                                 tax abatement proceedings Bolton and
                                                 Leonard have listed.
6) Mr. Bolton allegedly, during multiple         Paragraph 42 of Ortolano’s Complaint.
occasions during Plaintiff’s abatement           A refusal to communicate is not a
appeals and litigation pertaining to             “statement” within the purview of the
Plaintiff’s RTK requests, “refused to            litigation immunity Bolton and Leonard
communicate with her and directed his            are asserting. See Argument supra.
communications to an attorney
representing [Plaintiff] in different
actions”;
7) Mr. Bolton allegedly “ordered that            Paragraph 130 of Ortolano’s Complaint.
[Plaintiff] would never be granted an            This had nothing to do with any of the
appointment with any Legal                       right to know litigations or tax

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 Department employee, and that he                abatement applications Bolton and
 would have [her] arrested if she                Leonard listed in their Memorandum.
 attempted to enter the Legal
 Department”; and
 8) Mr. Bolton allegedly threatened to           Ortolano’s Complaint at 130-135.
 have [Plaintiff] arrested and called the        Please note that, after viewing City
 police, when in fact he alleged Plaintiff       Hall video, the Nashua PD did not find
 was preventing Mr. Bolton from leaving          Bolton’s claim that Ortolano was
 the legal office.                               preventing him from leaving the legal
                                                 office to be credible. Id. This is one of
                                                 the incidents that caused Ortolano to
                                                 commence this action, and which
                                                 quelled her free speech rights. It is not
                                                 immunized.


       Bolton’s and Leonard’s claim of litigation immunity are not supported by the

law.

       B. Counts Three and Four: Ortolano’s Due Process Claims

       In seeking dismissal of Counts Three and Four (Due Process claims), Bolton

and Leornard “incorporate and adopt Section II” of the Carignan Memorandum and

Section IV of the Donchess/Griffin Memorandum. Bolton /Leonard Memorandum, at

14. Rather than restating them again, Ortolano hereby incorporates her Arguments

stated in her opposition Memoranda to those sections. See Ortolano’s Memorandum

of Law in Opposition to Carignan’ Motion for Judgment on the Pleadings, at 20-21,

and Ortolano’s Memorandum of Law in Opposition to Donchess’s and Griffin’s

Motion for Judgment on the Pleadings, at 18-20.

       As to Bolton’s and Leonard’s reassertion of the litigation privilege, please see

pages 5 to 8 of Ortolano’s opposition argument infra.

       C. Count Five: Ortolano’s New Hampshire Constitution Claims


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      In seeking dismissal of Count Five (New Hampshire Constitution claims),

Bolton and Leornard “incorporate and adopt Section III” of the Carignan

Memorandum. Bolton /Leonard Memorandum, at 14. Rather than restating them

again, Ortolano hereby incorporates her arguments stated in her opposition

Memoranda to those sections. See Ortolano’s Memorandum of Law in Opposition to

Donchess’s and Griffin’s Motion for Judgment on the Pleadings, at 20.

      As to Bolton’s and Leonard’s reassertion of the litigation privilege, please see

pages 5 to 8 of Ortolano’s opposition argument infra.

      D. Count Six: Ortolano’s Civil Conspiracy Claim

      In seeking dismissal of Count Six (Civil Conspiracy), Bolton and Leornard

“incorporate and adopt Section IV” of the Carignan Memorandum and Section VI of

the Donchess/Griffin Memorandum. Bolton /Leonard Memorandum, at 15. Rather

than restating them again, Ortolano hereby incorporates her Arguments stated in

her opposition Memoranda to those sections. See Ortolano’s Memorandum of Law in

Opposition to Carignan’ Motion for Judgment on the Pleadings, at 21-22, and

Ortolano’s Memorandum of Law in Opposition to Donchess’s and Griffin’s Motion

for Judgment on the Pleadings, at 21-23.

      Bolton and Leonard attempt to counter Ortolano’s argument that the

intracorporate conspiracy doctrine does not apply because at least two of the

participants were noncorporate conspirators by arguing that “at no point in

Plaintiff’s complaint does Plaintiff mention any interactions between Mr. Feoli and

Defendants Bolton and Leonard, nor between Mr. Tozier and Defendants Bolton



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and Leonard. Bolton/Leonard Memorandum, at 17. This argument misconstrues the

nature of a conspiracy; there is no requirement that each participant in a conspiracy

interact directly with every other participant in the conspiracy. The elements of a

civil conspiracy come nowhere near imposing this requirement: (1) two or more

persons; (2) an object to accomplished (i.e., an unlawful object to be achieved by

lawful or unlawful means, or a lawful object to be achieved by unlawful means); (3)

an agreement on the object or course of action; (4) one or more unlawful overt acts;

and (5) damages as to the proximate result thereof. Jay Edwards, Inc. v. Baker, 130

N.H. 41, 47 (1987). To hold that every coconspirator must directly interact with

every other coconspirator would make large, complex conspiracies with many

coconspirators (e.g., some antitrust conspiracies) impossible to prosecute.

      As to Bolton’s and Leonard’s reassertion of the litigation privilege, please see

pages 5 to 8 of Ortolano’s opposition argument infra.

      E. Count Nine: Ortolano’s Abuse of Process

      Under New Hampshire law,: (1) a person used (2) legal process, whether

criminal or civil, (3) against the party (4) primarily to accomplish a purpose for

which it is not designed and (5) caused harm to the party (6) by the abuse of

process. Long v. Long, 136 N.H. 25, 29 (1992).

      The gravamen of the misconduct for which the liability stated in this
      Section is imposed is not the wrongful procurement of legal process or
      the wrongful initiation of criminal or civil proceedings; it is the misuse
      of process, no matter how properly obtained, for any purpose other
      than that which it was designed to accomplish. Therefore, it is
      immaterial that the process was properly issued, that it was obtained in
      the course of proceedings that were brought with probable cause and for
      a proper purpose, or even that the proceedings terminated in favor of

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      the person instituting or initiating them. The subsequent misuse of the
      process, though properly obtained, constitutes the misconduct for which
      the liability is imposed under the rule stated in this Section.

RESTATEMENT (SECOND) OF TORTS § 682 comment a at 474 (emphasis added).

      A restatement of the facts already stated in the opposition Memorandum to

Carignan’s Motion for Judgment on the Pleadings is in order. On January 22, 2021,

Ortolano went to City Hall to get the abatement applications date stamped.

Complaint, ¶ 107. Finding that the only City Hall office that was not shuttered was

the Legal Department and, knowing that the Legal Department had been handling

assessment questions from the public since the Assessing Department had been

closed for construction, Ortolano knocked on the door to the Legal Department and

employee Mindy Lloyd opened it and asked if Ortolano had an appointment.

Complaint, ¶ 107-108. Ortolano said “no” but that she only needed a date stamp on

the abatement applications; she asked if Attorney Neumann (the attorney handling

RTK requests) was available to provide one. Complaint, ¶ 109. When Attorney

Neumann said he would not date stamp her abatement applications and told her

she would have to leave, Ortolano, running out of options, said she was going to

wait in the lobby area for someone to assist her; she sat down in the lobby area on

the floor. Complaint, ¶ 109. A short time later, Leonard arrived at the Legal

Department and started to scream at Ortolano, who remained sitting on the floor

while the Nashua Police Department was summoned. Complaint, ¶ 110. A

compilation of all police reports regarding every potential criminal trespass event

resulting in a verbal or written warning or arrest, and which occurred at Nashua



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City Hall between January 1, 2014 and January 31, 2021, which was attached to

the Carignan opposition papers as Exhibit “J” shows that, even in regard to the

listed incidents that were potentially more violent or intrusive than Ortolano’s

January 22, 2021 incident, the Nashua Police Department charged not a single

person with criminal trespass between 2014 and January 2021. The Nashua Police

Department personnel handling Ortolano’s incident shows that they believed that

no crime had occurred and there was no reason for arrest.

      Laurie was sat down in an upstairs corridor area of City Hall. Was not
      causing a scene on arrival and appeared calm. She was upset as
      reported she has been trying to get appointment and paperwork
      stamped by city hall and they continue to not assist her. Reports this
      has been going on for months. She apparently assists people in
      property tax abatement/reductions and needed papers stamped.

      Spoke with Celia from City Hall who is Deputy Corporation Counsel
      for city? She said this is ongoing issue with Laurie and that personnel
      from NPD are aware. No allegations of any threats made but stated
      that Celia (sic) needed to leave now. Wanted her trespassed but
      allowed at City Hall if she has an approved appointment. Reported the
      City have had a lot of contact with Laurie via email and that there are
      pending lawsuits with the City.

      Lauries (sic) was asked to leave. She left willingly but stressed her
      frustration indicating that the City do (sic) not communicate with her
      or assist her. She was informed she is being trespassed for one year
      and is not allowed at City Hall unless with an appointment. She was
      advised that she could face arrest from Criminal Trespass if she
      attends City Hall without an appointment. She understood.

      No offences alleged or apparent

See Exhibit “J” of Opposition papers to Carignan Motion for Judgment on the

Pleadings, at 7-8 (emphasis added). Consistent with their finding, a day or so later

the police informed Ortolano’s attorney and the press that “the incident required no


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further action” and they were not even going to issue a no trespass order.

Complaint, ¶ 110. But, when a Union Leader reporter informed defendant Leonard

of the Nashua Police Department’s statement that there would be neither an arrest

nor a no trespass order, Leonard responded, “I find it troublesome, to say the least.

My office will be speaking with the police further.” Complaint, ¶ 111. It is at least

plausible that Leonard and Bolton, her supervisor, overruled the five police

personnel who handled the Ortolano incident after Leonard’s office spoke with

him/her/them. On February 17, 2021, the Nashua Police Department arrested

Laurie Ortolano. Complaint, ¶ 112. Plausible evidence exists that Bolton and

Leonard misused the legal process for someone to be arrested at City Hall for a sit-

on-the-floor protest although far more troubling and potentially violent incidents at

City Hall had not been prosecuted for some seven years before. And there is plenty

of evidence to suggest that the arrest was made to punish Ortolano for her protected

free speech activities, which they found to be annoying. This is a misuse of the legal

process and meets the elements of abuse of process.

      F. Count Ten: Ortolano’s Intentional Infliction of Emotional Distress Claim

      In seeking dismissal of Count Ten (Intentional Infliction of Emotional

Distress), Bolton and Leornard “incorporate and adopt Section V” of the Carignan

Memorandum and Section VII of the Donchess/Griffin Memorandum. Bolton

/Leonard Memorandum, at 19. Rather than restating them again, Ortolano hereby

incorporates her Arguments stated in her opposition Memoranda to those sections.

See Ortolano’s Memorandum of Law in Opposition to Carignan’ Motion for



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Judgment on the Pleadings, at 22, and Ortolano’s Memorandum of Law in

Opposition to Donchess’s and Griffin’s Motion for Judgment on the Pleadings, at 21.

   IV.       CONCLUSION.

   For the foregoing reasons, the plaintiff, Laurie Ortolano respectfully submits

that the Motion of Defendants Steven Bolton and Celia K. Leonard for Judgment on

the Pleadings should be denied.



Dated:         March 24, 2023                 Respectfully submitted,


                                              Laurie Ortolano, Plaintiff
                                              By her Attorneys,

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                           CERTIFICATE OF SERVICE

       I, Kurt S. Olson, hereby certify that this document, filed through the ECF
system, will be sent electronically forthwith to the registered participants as
identified on the Notice of Electronic Filing (NEF).

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